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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 SAIFULLAH KHAN,

                    Plaintiff,

        v.                                                 Case No. 3:19-cv-001966-KAD

 YALE UNIVERSITY, ET AL.,
                                                           June 1, 2022
                    Defendants.


                                  JOINT STATUS REPORT

       The Parties (Saifullah Khan, Yale University, the Individual Yale Defendants, and Jane

Doe) jointly submit this Status Report pursuant to the Court’s February 5, 2021 Order (ECF 47).

       The Second Circuit has certified questions concerning Plaintiff’s appeal to the Connecticut

Supreme Court. The Connecticut Supreme Court is expected to hold oral argument in September

2022 and issue a decision regarding the certified questions at some point thereafter.

                                                     Respectfully submitted,

                                                     PLAINTIFF SAIFULLAH KHAN


                                                By: /s/Norman A. Pattis
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                                                     His Attorney
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                                  DEFENDANT YALE UNIVERSITY AND
                                  THE INDIVIDUAL YALE DEFENDANTS


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                                  DEFENDANT JANE DOE


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                                CERTIFICATION OF SERVICE

       This is to certify that on this 1st day of June 2022, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s

electronic filing system.



                                                      /s/ Patrick M. Noonan
                                                          Patrick M. Noonan




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